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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 ______________________________________________
                                                       )         MDL No. 1456
IN RE PHARMACEUTICAL INDUSTRY                          )         Master File No. 01-12257-PBS
AVERAGE WHOLESALE PRICE LITIGATION                     )         Subcategory Case No. 06-11337
_______________________________________________ )
                                                       )         Judge Patti B. Saris
THIS DOCUMENT RELATES TO:                              )
State of California, ex rel. Ven-A-Care of the Florida )         Magistrate Judge
Keys, Inc. v. Abbott Laboratories, Inc., et al.        )         Marianne B. Bowler
Case No: 1:03-cv-11226-PBS                             )
_______________________________________________ )

       DECLARATION OF NICHOLAS N. PAUL IN SUPPORT OF PLAINTIFFS’
            SUR-REPLY IN OPPOSITION TO DEFENDANTS’ JOINT
              MOTION FOR PARTIAL SUMMARY JUDGMENT

       I, Nicholas N. Paul, do hereby declare as follows:

       1.      I am a Supervising Deputy Attorney General with the California Department of

Justice, Bureau of Medi-Cal Fraud and Elder Abuse. I am admitted to practice law in the State of

California and have been admitted pro hac vice in this matter.

       2.      On behalf of Plaintiff State of California, I am submitting with this declaration

Exhibits in support of the Plaintiffs’ Sur-Reply in Opposition to Defendants’ Joint Motion for

Partial Summary Judgment.

       3.      The following exhibits are true and correct copies of the materials described:

Exhibit No.    Description
     27        Deposition of Jeffrey J. Leitzinger, Ph.D., taken September 24, 2009, selected
               pages.

       I declare of under penalty of perjury that the foregoing is true and correct.

       Executed January 29, 2010, at San Diego, California.

                                                       /s/ Nicholas N. Paul
                                                     NICHOLAS N. PAUL
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                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was delivered to all counsel of

record by electronic service pursuant to Paragraph 11 of the Case Management Order No. 2, by

sending on January 29, 2010, a copy of Lexis-Nexis for posting and notification to all parties.

                                                       /s/ Nicholas N. Paul
                                                     NICHOLAS N. PAUL
